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UNITED STATES DISTRICT COURT                                                       ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                      DOC #: _________________
 -----------------------------------------------------------------------   X       DATE FILED: 9/22/2022
                                                                           :
 LENNY MOLINA,                                                             :
                                                                           :
                                                   Plaintiff,              :       1:20-cv-10821-GHW
                                                                           :
                               -against-                                   :            ORDER
                                                                           :
 HORNBLOWER GROUP, INC., HORNBLOWER                                        :
 NEW YORK, LLC, and HORNBLOWER CRUISES                                     :
 AND EVENTS, LLC,                                                          :
                                                                           :
                                                   Defendants.             :
                                                                           :
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GREGORY H. WOODS, United States District Judge:
         A jury trial in this matter will begin on Monday, June 26, 2023, at 9:00 a.m. The Court will

hold a final pretrial conference in this case on Friday, May 26, 2023, at 1:00 p.m. Both the final pretrial

conference and the jury trial will be held in Courtroom 12C of the United States District Court for the

Southern District of New York, Daniel Patrick Moynihan U.S. Courthouse at 500 Pearl Street, New

York, New York 10007.

         The parties are directed to submit the following materials no later than April 11, 2023: (1) the

joint pretrial order and other submissions permitted or required under Rule 5 of the Court’s Individual

Rules of Practice in Civil Cases, (2) a proposed brief, mutually acceptable description of the case, to be

read to the venire, and (3) a proposed brief, mutually acceptable overview of the applicable law, to be

read to the jury as part of the Court’s initial instructions prior to opening statements.

         SO ORDERED.

 Dated: September 22, 2022                                        _____________________________________
 New York, New York                                                         GREGORY H. WOODS
                                                                           United States District Judge
